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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 PAMELA BUTLER, et al.,                            )
                                                   )
                     Plaintiffs,                   ) Case No. 4:18-cv-01701-AGF
        v.                                         )
                                                   )
 MALLINCKRODT LLC, et al.,                         ) Lead Case
                                                   )
                     Defendants.                   )

            JOINT MOTION TO EXTEND SUMMARY JUDGMENT DEADLINES

       Plaintiffs and Defendants jointly move this Court to extend the deadlines to file summary

judgment briefing as stated below.

       1.      On October 5, 2021 the Court entered Case Management Order (“CMO”) No. 5 to

govern this matter. That order provides that summary judgment motions or motions for judgment

on the pleadings with respect to common issues must be filed within 21 days of the ruling on the

last Daubert motion. Responses shall be filed within 28 days of any motions, and any reply shall

be filed within 14 days of any response.

       2.      The Court’s order on Daubert motions was entered on March 31, 2022. As such, the

opening briefs for summary judgment motions or motions for judgment on the pleadings are due

on April 21, 2022.

       3.      The parties have conferenced regarding the schedule for filing, responding, and

replying to anticipated motions for summary judgment or motions for judgment on the pleadings

and jointly request the Court to extend the deadlines to the dates stated below:

                      Motions for Summary Judgment shall be filed on or before May 6, 2022.

                      Responses to Motions for Summary Judgment shall be filed on or before
                       June 10, 2022.

                      Any Reply shall be filed on or before June 31, 2022.


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       4.      This request for extension arises from various scheduling conflicts among the parties

and attempts to accommodate those conflicts without unnecessary delay. The parties make this

request in good faith and not for any improper purposes.



 Dated: April 20, 2022                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of April, 2022, I electronically filed the above with

the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

to counsel of record.

                                                /s/ David R. Erickson




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